Case 23-11659-JKS   Doc 9-1   Filed 10/02/23   Page 1 of 2




                Exhibit “A”
                                                                              Case 23-11659-JKS                               Doc 9-1              Filed 10/02/23                    Page 2 of 2


                                                                                                                                                   13-WEEK BUDGET ESTIMATE
                                                                  10/2-10/8       10/9-10/15     10/16-10/22    10/23-10/29    10/30-11/5     11/6-11/12  11/13-11/19 11/20-11/26          11/27-12/3     12/4-12/10     12/11-12/17    12/18-12/24    12/25-12/31      TOTAL

                                  BEGINNING CASH BALANCE $151,719.40             $142,349.59    $143,849.59    $148,435.04    $169,075.04    $177,505.23    $179,005.23    $186,963.43    $210,230.68    $212,520.87    $214,020.87    $240,520.87    $266,148.12
CASH COLLECTION                                              $122,500.00         $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $122,500.00    $1,592,500
                                   Wholesale Cash Collection $120,000.00         $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $120,000.00    $1,560,000
                                     Shopify Cash Collection $2,500.00           $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $32,500
EXPENSES
                        Secured Lending (SBA)                          $753.00                                                     $753.00                                                     $753.00                                                                 $2,259
                        Credit Card Payments                                        $2,000.00                     $2,000.00      $2,000.00                     $2,000.00      $2,000.00                                    $2,000.00                                  $12,000
                        Credit Card Processing                       $9,000.00                                                                  $9,000.00                                                   $9,000.00                                                 $27,000
                        Rent & Utilities                                           $20,000.00                                                  $20,000.00                                                  $20,000.00                                                 $60,000
                        Payroll                                     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00     $32,500.00   $422,500
     PRODUCTION




                        Raw Materials, Direct Labor & Finished Goods$35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00     $35,000.00                  $420,000
                        Exenta                                       $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00                   $30,000
                        Shipping                                     $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00      $8,500.00                  $102,000
                        Grassi                                       $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00                   $30,000
    FINANCIAL & LEGAL




                        Lipsteinn                                    $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00      $2,500.00                   $30,000
                        Jenn Weinberg                                $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00      $1,500.00                   $18,000
                        Adelman Matz                                 $5,000.00      $5,000.00      $5,000.00      $5,000.00                                                                                                                                           $20,000
                        Cross & Simon                                $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00      $5,000.00    $65,000
                        Trustee Fee                                 $10,000.00                                                   $5,000.00                                                                                                               $5,000.00    $20,000
                        Oxford Health Insurance                                                   $18,541.80                                                  $18,541.80                    $13,140.00                                                                $50,224
                        NYSIF                                                                                                    $1,800.00                                                   $1,800.00                                                                 $3,600
    INSURANCE




                        Hartford                                     $3,378.21                                                   $3,378.21                                                   $3,378.21                                                                $10,135
                        PHLY                                                                       $2,372.75                                                                  $2,372.75                                                   $2,372.75                    $7,118
                        IPFS                                         $4,838.60                                                   $4,838.60                                                   $4,838.60                                                                $14,516
                        Guardian                                     $2,600.00                                                                                                                                                                                         $2,600
                        Xeno Media                                                                                $2,500.00                                                   $2,500.00                                                   $2,500.00                    $7,500
                        Shopify                                      $1,300.00                                                   $1,300.00                                                   $1,300.00                                                                 $3,900
                        Amazon Web Services                                         $2,000.00                                                                  $2,000.00                                                   $2,000.00                                   $6,000
                        Marketing                                    $3,000.00                                                   $3,000.00                                                   $3,000.00                                                                 $9,000
                        IT, Wifi, & Phone                            $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00      $2,000.00                   $24,000
                        Company Auto                                                                               $360.00                                                     $360.00                                                                     $360.00     $1,080
                                                 Total Expense $131,869.81        $121,000.00    $117,914.55    $101,860.00    $114,069.81    $121,000.00    $114,541.80     $99,232.75    $120,209.81    $121,000.00     $96,000.00     $96,872.75     $42,860.00 $1,398,431.28
                                          WEEKLY CASH FLOW          -$9,370         $1,500         $4,585        $20,640         $8,430         $1,500         $7,958        $23,267         $2,290         $1,500        $26,500        $25,627        $79,640

                                     ENDING CASH BALANCE          $142,350         $143,850       $148,435       $169,075       $177,505       $179,005       $186,963       $210,231       $212,521       $214,021       $240,521       $266,148       $345,788     $345,788.12
